        Case 1:13-mc-01288-RCL Document 410 Filed 12/06/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

 IN RE FANNIE MAE / FREDDIE MAC
 SENIOR PREFERRED STOCK                            Misc. Action 1:13-mc-01288-RCL
 PURCHASE AGREEMENT CLASS
 ACTION LITIGATIONS                                CLASS ACTION

 THIS DOCUMENT ALSO RELATES TO:                    NOTICE OF WITHDRAWAL OF
                                                   ATTORNEY DAVID L. WALES
 ALL CASES



TO THE COURT AND ALL PARTIES OF RECORD AND THEIR COUNSEL:

       PLEASE TAKE NOTICE that David L. Wales is no longer associated with the firm of

Bernstein Litowitz Berger & Grossmann LLP, and it is respectfully requested that he be withdrawn

pursuant to LCvR 83.6 as counsel for Plaintiff Timothy J. Cassell in the above-captioned actions.

Bernstein Litowitz Berger & Grossmann LLP, through the additional counsel of record listed

below, will continue to serve as counsel for Plaintiff Timothy J. Cassell and the Class, and all

future correspondence and papers in this action should continue to be directed to them.

Dated: December 6, 2023                      Respectfully submitted,

                                             BERNSTEIN LITOWITZ BERGER &
                                             GROSSMANN LLP

                                             /s/ Adam H. Wierzbowski
                                             Adam H. Wierzbowski (admitted pro hac vice)
                                             1251 Avenue of the Americas
                                             New York, N.Y. 10020
                                             Tel: (212) 554-1400
                                             Fax: (212) 554-1444 (fax)
                                             adam@blbglaw.com

                                             Attorneys for Plaintiff Timothy J. Cassell and Co-
                                             Lead Class Counsel
